. _ Case 6:17-cV-OO457-GAP-G.]K Document 2 Filed 03/13/17 Page 1 of 10 Page|D 9
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IN THE CTRCU[T COURT OF THE
NTNETH JUDICIAL CIRCUlT IN AND
FOR ORANGE COUN'I'Y, FLORIDA

CASE NO.:

CHRISTOPHER GOTAY

VS.

Plaintiff,

CREDIT PROTECTION ASSOCIATION, L.P. , AND
COMENITY BANK

Defendant.
/

COMPLAINT

COMES NOW, the Plaintif`f, Christopher Gotay, by and through undersigned counsel and

sues the Defendants Credit Protection Association, L.P., (hereafter Credit Protection), and Comenity

Bank (hereaf’cer Comenity) and alleges:

l.

This is an action for damages greater than $15,000.00, exclusive of interest, costs and
attomey's fees.

At all times material hereto, Defendant, Credit Protection was a foreign limited partnership
With a principal place business in Dallas, Texas. Credit Protection registered with the Florida
Secretary of State and conducts business in State of Florida to the extent is collects on debts
owed by Florida residents.

At all times material hereto, Defendant Comenity was a Delaware Corporation, with a
principal place of business in Plano Texas.

The Plaintiff is a resident of Orange County, Florida.

Credit Protection is a third party debt collector. Credit Protection for purposes of the Fair
Debt Collection Practices Act (hereafcer FDCPA) is a debt collector.

Comenity Bank is an incorporated subsidiary of Alliance Data Systerns Corporation.
Alliance Data and Comenity Bank provides private label credit card financing over 1,000
companies, including J. Crew, Pottery Barn, Victoria Secret, as well as Airline loyalty
mileage cards.

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7. Plaintif’l" Christopher Gotay has a cellular/mobile phone with Metro PCS, his mobile phone
number is (407) 480-1442.

COUNT l - NEGLIGENT VIOLATION OF THE TELEPHONE CONSUMER
PROTECTION STATUTE AGAINST COMENITY

Plaintiffre~alleges paragraphs One, and Three through Seven as set forth above.
8. The Telephone Consumer Protection Act (TCPA) 47 U.S.C 227, provides in pertinent part:

(b) RESTRICTIONS ON THE USE OF AUTOMATED
TELEPHONE EQUIPMENT._ (l) PROHIBITIONS._It shall be
unlawii.d for any person within the United States, or any person
outside the United States if the recipient is within the United States_

(A) to make any call (other than a call made for emergency purposes
or made with the prior express consent of the called party) using any
automatic telephone dialing system or an artificial or prerecorded
voice-

...(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for Which the called party is
charged for the call

9. Defendant Comenity used an automatic telephone dialing equipment to call the plaintift’s
cellular telephone number on numerous occasions including but not limited to the following
occasions: This list is not a complete list and Plaintiff reserves the right to supplement this
list in the future to add any additional calls found during discovery.

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7204563682

Activity Time

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02/23/2015 10:22:41 AM
02/24/2015 07:15:53 PM
02/24/2015 08:58:28 AM
02/24/2015 09:58:11 AM
02/24/2015 11:18:34 AM
02/24/2015 12:29:15 PM
02/25/2015 02:10:46 PM
02/25/2015 07:00:42 PM
02/25/2015 07:16:09 PM
02/25/2015 08:14:51 AM
02/25/2015 09:59:17 AM
02/25/2015 12:27:53 PM
02/25/2015 12:37:09 PM
02/26/2015 06:15:32 PM
02/26/2015 06:42: 14 PM
02/26/2015 10:28:34 AM
02/26/2015 11:37:33 Al\/I
02/26/2015 12:52:30 Pl\/l
02/27/2015 03:46:11 PM
02/27/2015 10:34:56 AM
02/27/2015 11:48: 15 AM
02/28/2015 08:06:46 AM
02/28/2015 08:51:23 AM
02/28/2015 10117:12 AM
02/28/2015 ll:20:57 Al\/l
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03/01/2015 02135:06 PM
03/01/2015 08:08:48 AM
03/01/2015 10117:14 AM
03/01/2015 11:53:34 AM
03/02/2015 01:58:19 PM
03/02/2015 03119:38 PM
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03/04/2015 05:23:35 PM
03/04/2015 06:48:33 PM
03/04/2015 08:06:49 AM
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03/04/2015 12:57:57 PM
03/05/2015 08:06:13 AM
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03/05/2015 10:57:02 AM
03/05/2015 11:38:18 AM
03/09/2015 06:41:48 PM
03/09/2015 07:38:54 PM
03/09/2015 08:43:36 AM
03/09/2015 11126:17 AM
03/09/2015 12:22:25 PM
03/10/2015 06:19:12 PM
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03/10/20]5 08:48:29 PM
03/10/2015 10104:31 AM
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03/12/2015 07:38:42 PM
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03/12/2015 12:35:14 PM
03/13/2015 08:26:20 AM
03/13/2015 10:05:24 AM
03/13[2015 12:32:ll Phd
05/02/2015 l 1:03:20 PM
05/02/20|5 l 1103:24 PM
05/02/2015 l 1104:46 Pl\/l
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05/02/2015 11:07:57 PM
05/02/2015 11:08:23 PM
05/02/2015 11:08:26 PM
05/02/2015 11:()8:29 PM
05/02/2015 11:08 43 PDA

10. The Plaintiff never gave Comenity permission to call Plaintiff’s cellular phone.

ll. When the Plaintiff realized Comentity’s calls were not the result of an isolated mistake the
Plaintift instructed Comenity to cease all calls to the Plaintit`f’s cell phone and Comenity
despite Plaintit‘f’s instruction continued to call the Plaintifi`.

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12. If Comenity ever had consent or implied consent of the Plaintiff to call the plaintiff such
consent was revoked by the Plaintiff when Plaintiff instructed the Defendant to stop calling
the Plaintiff.

13. The calls from the Plaintiff may have been directed to the prior owner of the cellular
telephone number, who is believed to be Annabelle Rodriguez.

14. Those calls that were made after Plaintiff instructed Defendant to stop were willful.

15. Pursuant to the TCPA the Plaintiff is entitled to recover from the Defendant $500.00 per
call for each ca11 and for any call that was not Willful. For such calls that were willful the
Plaintiff respectfully requests such per ca11 sum be trebled pursuant to 47 USC 227(b)(3)(C),
to $1,500.00 per call.

COUNT lI - WILLFUL VIOLATION OF TCPA AGAINST COMENTIY

Plaintiff realleges paragraphs One and Three through Fourteen as set forth above.

l6. After the Plaintiff put Comenity on notice that they had no reason to be calling him and
that he did not wish to receive future calls, all further calls by Comenity were knowing
and/or willful.

17. The foregoing acts and omissions of Defendant constitute numerous and multiple
knowing and/or willful violations of the TCPA, including but not limited to each and
every one of the above cited provisions of 47 U.S.C. § 227 et seq. 33. As a result of
Comenity’s knowing and/or willful violations of 47 U.S.C. § 227 et seq., Plaintiff is
entitled an award of $1,500.00 in statutory damages, for each and every violation,
pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C). 34.

COUNT Ill - NEGLIGENT VlOLATlON OF THE TCPA BY CREDIT PROTECTION
Plaintiff re-alleges paragraphs One, 'I`wo, and F our through Seven.
18. The Telephone Consumer Protection Act (TCPA) 47 U.S.C 227, provides in pertinent part:
(b) RESTRICTIONS ON THE USE OF AUTOMATED
TELEPHONE EQUIPMENT._ (1) PROI-IIBITIONS._It shall be
unlawful for any person within the United States, or any person

outside the United States if the recipient is within the United States_

(A) to make any call (other than a call made for emergency purposes
or made with the prior express consent of the called party) using any

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automatic telephone dialing system or an artificial or prerecorded
voice_

...(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call

19. Defendant Credit Protection used an automatic telephone dialing equipment to call the
plaintiff’s cellular telephone number on numerous occasions including but not limited to the
following occasions: This list is not a complete list and Plaintiff reserves the right to

supplement this list in the future to add any additional calls found during discovery.

Caller Phone No. Activity Time
l) CREDIT PROTECTION ASSOC.8443355695 02/12/2015 06:39:00 PM
2) CREDIT PROTECTION ASSOC.8443355695 02/16/2015 04137:48 PM
3) CREDIT PROTECTION ASSOC.8443355695 02/16/2015 07:38:00 PM
4) CREDIT PROTECTION ASSOC.8443355695 02/17/2015 12:08:47 PM
5) CREDIT PROTECTION ASSOC.8443355695 02/17/2015 01:15:55 PM
6) CREDIT PROTECTION ASSOC.8443355695 02/17/2015 04:15:53 PM
7) CREDI"T PROTECTION ASSOC.8443355695 02/19/2015 05:22:22 PM
8) CREDIT PROTECTION ASSOC.8443355696 02/21/2015 l 1113:38 AM
9) CREDIT PROTECTION ASSOC.8443355696 02/21/2015 02:14:04 PM
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04/15/2015 01:18:14 PM
04/15/2015 05:08:39 PM
04/16/2015 09:43:50 AM
04/16/2015 01:34:28 PM
04/17/2015 09:54:16 AM
04/17/2015 01:45:01PM
04/18/2015 12:32:07 PM
04/18/2015 01:32:11PM
04/23/2015 01 :43:42 FM
04/25/2015 l 1:06:36 AM
04/27/2015 10103:05 AM
04/28/2015 01:00:28 PM
04/28/2015 04:50:48 PM
05/02/2015 10:32:33 AM
05/02/2015 02:22:57 PM
05/02/2015 l 1103:45 PM
05/02/2015 11:04:50 PM
05/04/2015 10:52:24 AM
05/04/20| 5 02:56:40 PM
05/04/20| 5 07:02:09 PM
05/ 12/201 5 06:57:04 PM
05/18/2015 03:04:16 PM
05/21/2015 03:20: 10 PM
05/21/2015 07:11:21PM
05/22/2015 01:37:50 PM
05/22/2015 05:29:01 PM
05/23/2015 10:13:03 AM
05/26/2015 08:53:21 PM
06/06/2015 02:08:44 PM
06/08/2015 05:45:38 PM
06/16/2015 04:00:37 PM
07/07/2015 04:20:41 PM
07/09/20|5 07:1 1150 PM
07/17/20|5 03119:47 PM
07/18/201511:12:06 AM
07/22/2015 08:41:05 PM
08/04/2015 04:41:07 PM
08/11/2015 04:55:18 PM
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08/12/2015 07:40:08 PM
08/18/2015 03:10:17 PM
08/19/2015 04:26:39 PM
08/20/2015 04:12:03 PM

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20.

21.

22.

23.

24.

The Plaintiff never gave the Credit Protection permission to call the Plaintiffs cellular
phone.

When the Plaintiff realized Credit Protection’s calls were not the result of an isolated
mistake the Plaintiff instructed the plaintiff to cease all calls to the Plaintiff’s cell phone and
the Defendant despite Plaintift’s instruction continued to call the Plaintiff.

If the Credit Protection ever had consent or implied consent of the Plaintiff to call the
plaintiff such consent was revoked by the Plaintiff when Plaintiff instructed the Defendant
to stop calling the Plaintiff.

The calls from the Plaintiff may have been directed to the prior owner of the cellular
telephone number, who is believed to be Annabelle Rodriguez.

Pursuant to the TCPA the Plaintiff is entitled to recover from the Defendant $500.00 per
call for each call and for any call that was not willful.

COUNT IV - WILLFUL VIOLATION OF TCPA AGAINST CREDIT PROTECTION

Plaintiff re-alleges paragraphs One, Two, Four through Seven and Eighteen through 'I`wenty-
Four as set forth above.

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After the Plaintiff put Credit Protection on notice that they had no reason to be calling
him and that he did not wish to receive future calls, all further calls by Credit Protection
were knowing and/or willful.

The foregoing acts and omissions of Defendant constitute numerous and multiple
knowing and/or willful violations of the TCPA, including but not limited to each and
every one of the above cited provisions of 47 U.S.C. § 227 et seq. 33. As a result of
Credit Protection’s knowing and/or willful violations of 47 U.S.C. § 227 et seq., Plaintiff
is entitled an award of $1,500.00 in statutory damages, for each and every violation,
pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C). 34.

COUNT V - VIOLATION OF THE FCCCPA AGAINST COMENTIY ONLY

Plaintiff re-allages the allegations set forth in paragraphs one, three through seven, and nine.

27.

28.

The Plaintiff is a “consumer” and “debtor” as defined by 559.55(2)

COMENITY . is a “Debt Collector” as defined by 559.55(6) or in the alternative is an
“Out-of-state debt collector” as defined by 559.55(8)

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29. Florida Statute 559.72 sets forth in pertinent part:
Prohibited Practices:
-In collecting consumer debts, no person shall:

(7) Willfully communicate with the debtor or any member of her or his
family With such frequency as can reasonably be expected to harass the
debtor or her or his family, or willfully engage in other conduct which
can reasonably be expected to abuse or harass the debtor or any member
of her or his family.

(18) Communicate with a debtor if the person knows that the debtor is
represented by an attorney with respect to such debt and has knowledge
of, or can readily ascertain, such attomey's name and address, unless the
debtor's attorney fails to respond within a reasonable period of time to a
communication from the person, unless the debtor's attorney consents to
a direct communication with the debtor, or unless the debtor initiates the
communication;

30. Comenity made phone calls to the Plaintiff with such frequency, that such calls violated
Florida Statute 559.72(7).

31. The purpose of Comenity’s calls was consumer debt collection regardless of Whether
Plaintiff had an account with Comenity.

32. Calls to collect an alleged consumer debt fall under the FDCPA even if the consumer
called does not owe the subject debt for which the creditor or debt collector is calling.

33. Pursuant to 559.77 Plaintiff is entitled to his actual damages, together with statutory
damages of up to $1,000.00 for the violation.

34. The Plaintiff retained the undersigned counsel and if Plaintiff prevails is entitled to
recover his reasonable attorney’s fees under the FCCPA.

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WHEREFORE, the Plaintiff, , demands judgment for damages together with interest, costs and
attomey’s fees pursuant to Florida Statutes, §§559.77, the FCCPA, legal assistants’ fees pursuant to
§57.104 Florida Statutes, and costs pursuant to §92.231, Florida Statutes and §57-041, Florida
Statutes, and any and all further relief as this Court deems just and proper, and further demands a

trial by jury on all issues.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been furnished to Defendants

herein through service of process.

SHUSTER & SABEN, LLC

/s/ Richa)'d Shu.ster

RICHARD SHUSTER, ESQUIRE

Fla. Bar No.: 045713

1413 South Patrick Drive, Suite 7

Satellite Beach, Florida 32937

Telephone: 321 -622-5040

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